
668 S.E.2d 566 (2008)
STATE of North Carolina
v.
Troy Lynn LIGON.
No. 189P08.
Supreme Court of North Carolina.
October 9, 2008.
Troy Lynn Ligon, Pro Se.
Richard A. Graham, Assistant Attorney General, Ronald L. Moore, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 17th day of April 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
